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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 TARA HALL AS PERSONAL
 REPRESENTATIVE OF THE ESTATE
 OF MARCEL THEO HALL, and
 derivatively on behalf of Biz Markie, Inc.
 11206 Champlain Circle                              CASE NO: 1:22-cv-00806
 Bowie, MD 20720

        Plaintiff,

 vs.

 BIZ MARKIE, INC., a Washington, D.C.
 corporation and registrant of bizmarkie.com
 1328 U St. NW #1W
 Washington, D.C. 20009-7503, and
 JENNIFER IZUMI, individually
 1905 15th Street NW
 Washington, D.C. 20009

        Defendants.


                      JOINT REPORT OF RULE 26(f) CONFERENCE

       Pursuant to Federal Rule of Civil Procedure 26(f) and Local Rule 16.3(a), counsel for the

parties submit this updated Joint Report of Rule 26(f) Conference and proposed Scheduling Order.

Counsel for Plaintiff and Defendants (who are collectively referred to herein as the “Parties”)

conferred on June 17, 2022, and report as follows:

       1.      Dispositive Motions.   Defendants timely filed a Motion to Dismiss in this matter.

In response, Plaintiff timely filed an Amended Complaint. Through Plaintiff’s amendment,

the amended complaint now states Plaintiff’s operative claims. On June 22, 2022, this Court

denied the Motion to Dismiss as moot. After Defendants timely filed their Answer to Plaintiff’s

Amended Complaint, the parties agreed that discovery should proceed as scheduled herein. The

proposed scheduling order provides for the filing of summary judgment motions.




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       2.      Amending Pleadings. The deadline for motion seeking leave to file Motion to

amend or join parties is 60 days after the filing of Defendants’ answer to the Amended Complaint.

       3.      Magistrate Judge. One or more parties objects to the assignment of this case to a

magistrate judge for all purposes, including trial.

       4.      Settlement and ADR. At this juncture of the case, the parties do not yet know if

there may be a realistic possibility of settlement and believe this case may benefit from ADR.

       5.      Summary Judgment. The parties agree that motions for summary judgment may

be filed and propose the following summary judgment deadlines:

               a. Motions for Summary Judgment: Sixty (60) days after completion of discovery

               b. Responses to Motions for Summary Judgment: Thirty (30) days after filing of

                   Motions

               c. Replies in Support of Summary Judgment: Fifteen (15) days after filing of

                   Responses

       6.      Initial Disclosures. The parties will file initial disclosures within 60 days of

Defendants’ filing their answer to the amended complaint.

       7.      Discovery and Discovery Schedule (fact discovery). The parties agree that fact

discovery should conclude six (6) months following Defendants’ filing their answer to the

amended complaint, to include answers to interrogatories, document production, requests for

admissions, and depositions.

       8.      Protective Order.

               The Parties believe a mutually approved Protective Order should govern financial

information of the Parties.

       9.      Document Preservation.




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               Based on representations from counsel from both sides, the parties believe that

potentially responsive documents shall be preserved.

       10.     Cutoff for Logging of Privileged Documents.

               The parties shall submit a separate stipulation regarding the cutoff for logging of

privileged documents.

       11.     Depositions.

               The Parties’ position is that the presumptive limit of 10 depositions under Rule

26(b)(2) of the Federal Rules of Procedure should apply. Either party may use the procedure

established in that rule to seek leave of court to conduct depositions in excess of the limit after

explaining the grounds.

       12.     Experts. The parties propose the following deadlines for expert discovery and agree

that with regard to Proponent’s Expert Reply Reports, any expert submitting such a report will be

subject to deposition even if that expert has already been deposed in the case, and the deposition

will be limited to the substance of the Reply Report.

               a. Exchange of Proponents’ Expert Reports: Two (2) months following close of

                   fact discovery.

               b. Exchange of Opponents’ Expert Reports: Thirty (30) days following receipt of

                   Proponents’ Expert Report

               c. Exchange of Proponents’ Expert Reply Reports: Thirty (30) days following

                   receipt of Opponents’ Expert Reports

               d. Close of Expert Discovery: One hundred twenty (120) days following close of

                   fact discovery

       13.     Class Actions. Not applicable.




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        14.       Bifurcation. The parties agree that the trial should not be bifurcated.

        15.       Pretrial Conference. The parties agree that the Court should set the final Pretrial

Conference thirty (30) to sixty (60) days prior to trial.

        16.       Trial Date. The parties agree that the Court should set a firm trial date for a ten-

day jury trial.

        17.       Case Summaries. The parties’ case summaries appear below.

                                      Plaintiff’s Case Summary

        In or about 2016, Defendant Izumi, an employee of famed entertainer “Biz Markie”

(Marcel T. Hall), granted herself 51% of Mr. Hall’s income and control of his company, Biz

Markie, Inc., the other Defendant in this matter. As she filed the company’s tax returns, paid its

bills, and collected its income on behalf of Mr. Hall, Mr. Hall was unaware of this action.

Additionally, knowing of Mr. Hall’s poor health, Defendant Izumi covertly applied to change the

ownership of Mr. Hall’s life insurance policies to one of her solely owned corporations, with

herself as the sole beneficiary of one of the policies and 40% beneficiary of the other.

        In 2020, Mr. Hall was hospitalized and thereafter suffered a drastic medical decline; after

being hospitalized for more than a year, Mr. Hall passed away on July 16, 2021 at age 57. Plaintiff

in this matter is his Estate, represented by Mr. Hall’s widow.

        During most of this year of hospitalization, June 2020 through July 2021, Mr. Hall was

incapacitated and unable to make financial decisions on his own behalf. During this period of

incapacitation, Defendants engaged in numerous financial and corporate transactions that directly

benefited Defendants, to the detriment of the financial well-being of Mr. Hall and therefore the




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Plaintiff. These actions were not authorized by Mr. Hall, as he was unable to make financial

decisions during this time.


       While Mr. Hall was in the hospital, BM, Inc. obtained a $149,000.00 Paycheck Protection

Program (PPP) loan, authorized by the CARES Act to provide small businesses with the funds to

continue to pay their employees, but Defendant Izumi misappropriated the company’s funds and

used them to pay her personal taxes. While Mr. Hall was in the hospital, Defendant Izumi hacked

into his personal accounts (including banking) without permission and changed the passwords, so

that they cannot be accessed by his Estate or widow. Without the knowledge or consent of Mr.

Hall, Defendant Izmi fraudulently filed a trademark application for the Biz Markie mark, falsely

stating in her application that his company had not yet used “Biz Markie” in commerce.


       While Mr. Hall was incapacitated, Defendant Izumi obtained a $65,000 advance from his

royalty earnings, which she directed to be paid to one of her companies and even sent a letter of

direction to Warner Brothers switching the payee of Mr. Hall’s artist royalties from his company

to hers. She changed the address of the Biz Markie, Inc. bank account to her company’s address,

and all funds due and owing to Mr. Hall for his music and acting career (including royalties and




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residuals) are still being routed into Defendant Izumi’s accounts – and none go to Mr. Hall’s

widow, in contravention of his intentions.


       Immediately after his death, Defendants began the advertising and sale of unauthorized

clothing and merchandise on the Biz Markie website, bizmarkie.com, for which they never

accounted to or paid Mr. Hall or Plaintiff for any of the goods sold bearing his name and likeness.

       Plaintiff brings this action for claims of multiple trademark violations, violation of the

Anticybersquatting Consumer Protection Act, unjust enrichment, conversion, and requesting, inter

alia, injunctive relief, accounting, and payment.

       Although Defendant Izumi has proffered a power of attorney purportedly executed by Mr.

Hall, it expressly disallows self-dealing and compensation for such appointment and specifically

excludes intellectual property rights. Defendants apparently incorrectly rely on Defendant Izumi’s

power of attorney to validate their actions.

                                   Defendants’ Case Summary

       Ms. Jennifer Izumi (“Ms. Izumi”) and Mr. Marcel Theo Hall (“Mr. Hall”) were friends for

over twenty years. They met when Mr. Hall was in the midst of his professional career as a

musician, disc jockey, and actor. Ms. Izumi also had her own career as a well-respected Verizon

Wireless sales agent. Upon formation of Biz Markie, Inc. (“BM, Inc.” or the “Company”), Mr.

Hall and Ms. Izumi agreed that Ms. Izumi would be a majority shareholder of the Company

because Mr. Hall knew that Ms. Izumi would operate BM, Inc. fairly and in its best interest as she

had done for the last 15 years.

       Consistent with Mr. Hall’s trust in Ms. Izumi, he also explicitly and formally appointed

Ms. Izumi to act on his behalf in relation to Mr. Hall’s personal affairs. On May 23, 2018, both

Mr. Hall and Ms. Izumi signed, dated, and notarized an enforceable Power of Attorney in front of



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two witnesses. In this way, Mr. Hall declared his express intent to have Ms. Izumi act as his

attorney-in-fact. Although, Mr. Hall had the option to limit Ms. Izumi’s authority within the Power

of Attorney, Mr. Hall decided to clearly identify that Ms. Izumi had broad and general authority

to act on Mr. Hall’s behalf in every subject listed on the Power of Attorney. Among many other

actions, the Power of Attorney allowed Ms. Izumi to communicate, sell personal property, operate

or reduce an ownership interest, and sell or assign a share in or payment from Mr. Hall’s estate.

Essentially, the Power of Attorney provided Ms. Izumi with full authority to act as Mr. Hall in his

absence. This occurred despite Ms. Tara Hall’s simultaneous presence in Mr. Hall’s life.

       Mr. Hall passed away from medical complications on July 16, 2021. Now, contrary to all

of Mr. Hall’s prior statements and actions while he was alive, his Estate, as directed by Ms. Tara

Hall (“Plaintiff”), claims that Ms. Izumi’s actions amount to self-dealing. Ms. Izumi denies all of

Plaintiff’s claims and further notes that all of her actions were taken either under the express

authority conferred by Mr. Hall, the Power of Attorney that he and Ms. Izumi signed, or Ms.

Izumi’s authority as the majority owner of BM, Inc.

       BM, Inc. is the owner of and has been using the Biz Markie mark in connection with inter

alia, entertainment services since at least as early as February 3, 2015 and apparel and various

other services since at least as early as December 2015. In addition, BM, Inc. has owned and

maintained the Bizmarkie.com domain since 2016. Contrary to Plaintiff’s claims, Ms. Izumi had

the authority to manage any intellectual property rights allegedly owned by Mr. Hall as the Power

of Attorney expressly grants Ms. Izumi the authority to “[c]ontract with another person, on terms

agreeable to the Attorney-in-Fact, to accomplish a purpose of a transaction and perform, rescind,

cancel, terminate, reform, restate, release, or modify the contract or another contract made by or

on behalf of the principal;” “[e]xecute, acknowledge, seal, deliver, file, or record any instrument




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or communication the Attorney-in-Fact considers desirable to accomplish a purpose of a

transaction, including creating a schedule contemporaneously or at a later time listing some or all

of the principal’s property and attaching the schedule to this power of attorney;” “[p]repare,

execute, and file a record, report, or other document to safeguard or promote the principal' s interest

under a statute or regulation;” and full authority involving “[o]peration of an [e]ntity or a

[b]usiness.” Accordingly, as provided above, Plaintiff’s claims are without merit and Defendants

deny all Plaintiff’s claims as all actions taken by Ms. Izumi were taken either under the express

authority conferred by Mr. Hall, the Power of Attorney that he and Ms. Izumi signed, or Ms.

Izumi’s authority as the majority owner of BM, Inc.

       18.     Outstanding Discovery Issues: Must be resolved by 30 days following close of

expert discovery.

                                   Proposed Scheduling Orders

       The parties have attached a proposed Scheduling Order reflecting the proposed pretrial

schedule as outlined in this Report.




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Dated: August 22, 2022                          Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 22 day of August 2022, a copy of the foregoing Joint Report of

Rule 26(f) Conference was filed with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to all attorneys of record.


                                                       /s/ Benjamin E. Horowitz
                                                       Benjamin E. Horowitz




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                        IN THE UNITED STATES DISTRICT COURT
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 TARA HALL AS PERSONAL
 REPRESENTATIVE OF THE ESTATE
 OF MARCEL THEO HALL, and
 derivatively on behalf of Biz Markie, Inc.
 11206 Champlain Circle                              CASE NO: 1:22-cv-00806
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         Plaintiff,

 vs.

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 corporation and registrant of bizmarkie.com
 1328 U St. NW #1W
 Washington, D.C. 20009-7503, and
 JENNIFER IZUMI, individually
 1905 15th Street NW
 Washington, D.C. 20009

         Defendants.


                            [PROPOSED] SCHEDULING ORDER

         Pursuant to the Joint Report filed according to Local Civil Rule 16.3 and Federal Rule of

Civil Procedure 26, it is hereby ordered that the parties shall comply with the following case

deadlines:

 Event                                                Date/Deadline

 Amend Pleadings or Add Parties                       September 12, 2022

 Close of Fact Discovery                              January 12, 2023

 Exchange of Proponents’ Expert Reports               March 13, 2023

 Exchange of Opponents’ Expert Reports                April 12, 2023

 Exchange of Proponents’ Expert Reply Reports         May 12, 2023

 Close of Expert Discovery                            May 12, 2023




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 Motions for Summary Judgment                          July 13, 2023

 Responses to Motions for Summary Judgment             August 14, 2023

 Replies in Support of Summary Judgment                August 29, 2023

 Pretrial Conference                                   The parties agree that the Court should set

                                                       the final Pretrial Conference thirty (30) to

                                                       sixty (60) days prior to trial.

       The parties may not modify these dates without Court approval, upon motion stating the

grounds for modification, whether any prior extensions of time have been granted, and whether

the extension will impact any other scheduled dates.

       SO ORDERED.



Date: _______________, 2022                            __________________________
                                                       Hon. Colleen Kollar-Kotelly
                                                       United States District Court Judge




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